Case 2:16-bk-11330-BR   Doc 39-2 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
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Case 2:16-bk-11330-BR   Doc 39-2 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
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Case 2:16-bk-11330-BR   Doc 39-2 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
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Case 2:16-bk-11330-BR   Doc 39-2 Filed 03/30/16 Entered 03/30/16 11:23:57   Desc
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